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17                       SOUTHERN DISTRICT OF CALIFORNIA
18   Al Otro Lado, Inc., et al.,                      Case No. 17-cv-02366-BAS-KSC
19                     Plaintiffs,                    PLAINTIFFS’ MEMORANDUM
                                                      OF LAW IN SUPPORT OF
20           v.                                       THEIR MOTION TO
                                                      FACILITATE NOTICE TO
21   Alejandro Mayorkas,1 et al.,                     CLASS MEMBERS OF
                                                      HUMANITARIAN EXCEPTION
22                     Defendants.                    PROCESSES
23                                                    Declaration of Stephen M. Medlock
                                                      Filed Concurrently
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28       Secretary Mayorkas is automatically substituted pursuant to Fed. R. Civ. P. 25(d).


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 1                                    INTRODUCTION
 2         Under the Biden administration, the U.S. Department of Homeland Security
 3   (“DHS”) and U.S. Customs and Border Protection (“CBP,” and together with DHS,
 4   “Defendants”) have begun allowing certain migrants waiting in Mexico to gain
 5   access to the U.S. asylum process despite the government’s continuing reliance on a
 6   public health rationale to expel most asylum seekers from Class A ports of entry
 7   (POEs) along the U.S.-Mexico border. Specifically, Defendants are employing a
 8   humanitarian exception to the order issued by the Centers for Disease Control and
 9   Prevention (“CDC”) pursuant to 42 U.S.C. §§ 265 and 268 (“Title 42”) to allow
10   limited numbers of pre-vetted asylum seekers into the United States.2 Defendants
11   have implemented this exception through various processes, all of which have the
12   potential to materially benefit members of the class that this Court certified on August
13   6, 2020. See Dkt. 513.
14         However, Defendants are doing nothing to give Al Otro Lado (“AOL”) class
15   members access to these new humanitarian exception processes—processes for
16   which they would likely be eligible, if only they knew about them. Specifically, (1)
17   Defendants are not informing class members that these processes exist, and (2)
18   Defendants will not provide Plaintiffs with information that would enable Plaintiffs
19   to inform the class. Defendants have access to the waitlists that were kept by
20   Mexican authorities and shelters and relied upon by Defendants to facilitate the
21   Turnback Policy at the heart of this case. Many of these waitlists contain detailed
22   information about the asylum seekers turned back by Defendants, including names,
23
24
     2
25     The legality of the Administration’s continued use of Title 42 is currently being
     litigated. Huisha-Huisha v. Mayorkas, No. 21-cv-00100 (D.D.C.). That litigation
26
     has led to the creation of one process by which certain migrants may gain access to
27   the U.S. asylum process, called the Huisha process, which is primarily focused on
     families. Ex. 5 at ¶ 10.
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 1   contact information, and date of enrollment on the list. See Ex. 1 at ¶ 10.3 Having
 2   this information would allow Plaintiffs’ counsel to provide notice of the processes
 3   that Defendants have created to implement the humanitarian exception to Title 42 to
 4   class members who are still waiting to access the U.S. asylum process.
 5         Moreover, providing notice of this key development in the class members’
 6   case would partially right a longstanding wrong. Starting in May 2016, Defendants
 7   began turning back asylum seekers at POEs, telling them either explicitly or
 8   implicitly that they could return to be inspected and processed at a later date. In many
 9   cases, after fleeing persecution in their home countries and enduring long, arduous
10   journeys to POEs on the border, asylum seekers with no legal status and few
11   employment prospects in Mexico were forced to wait in overcrowded shelters or to
12   live in makeshift arrangements in border towns that the U.S. government has long
13   recognized to be extremely dangerous. Those asylum seekers—all of whom are AOL
14   class members—waited for months or years during the Trump administration to
15   access the U.S. asylum process, and many are still waiting. The Biden administration,
16   however, has not only not ended metering, it has created secretive, opaque processes
17   to grant limited access to the U.S. asylum process to certain asylum seekers—
18   processes that, in practice, privilege recent arrivals, well-connected individuals, and
19   individuals represented by counsel.4
20
21
     3
      “Ex.” refers to the exhibits to the contemporaneously-filed declaration of Stephen
22   M. Medlock.
23   4
       Compare Sabrina Rodriguez, Harris’ Blunt Message in Guatemala: ‘Do Not Come’
24   to U.S., Politico (June 7, 2021) (quoting Vice President Harris as stating: “At the
25   same time, I want to be clear to folks in the region who are thinking about making
     the dangerous trek to the United States-Mexico border: Do not come. Do not come.
26   . . . I believe if you come to our border, you will be turned back.”), with Former
27   President Donald Trump, Remarks in a Roundtable Discussion on Immigration and
     Border Security and an Exchange With Reporters in Calexico, California (Apr. 5,
28   2019) (“[T]here’s nothing you can do. You have to say, ‘I’m sorry, we can’t take
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 1         These new humanitarian exception processes ostensibly aim to serve the most
 2   vulnerable, including those who have spent substantial periods waiting in Mexico,
 3   but make no effort to include AOL class members. For example, class members could
 4   now be eligible for inspection and processing through the “consortium process,”
 5   under which CBP has inspected and processed some pre-vetted asylum seekers at
 6   POEs despite COVID-19 restrictions. But Defendants would apparently prefer that
 7   many, if not most, of the class members in this case not know about that process.
 8   Defendants have objected to Plaintiffs’ suggestion that Defendants, who clearly have
 9   much more reach than Plaintiffs, provide notice to the class, or alternatively,
10   transparency to the public, including to waiting asylum seekers, about how to access
11   the consortium process. Plaintiffs are willing to provide notice themselves but need
12   limited assistance from Defendants to obtain waitlists with invaluable contact
13   information for likely class members—waitlists that Defendants could obtain easily
14   but that are inaccessible to Plaintiffs despite multiple, repeated attempts to obtain
15   them. See Dkt. 644-1 at ¶ 5.
16         Therefore, Plaintiffs ask this Court to order Defendants to make all reasonable
17   efforts to collect and produce all remaining waitlists of individuals that Defendants
18   turned back at POEs to facilitate the process of identifying and providing notice to
19   class members about the consortium process, and any other similar process that
20   would allow class members access to the U.S. asylum process.             Specifically,
21   Defendants should obtain waitlists for the POEs at San Luis, AZ, Nogales, AZ,
22   Douglas, AZ, Del Rio, TX, Laredo, TX, and Hidalgo, TX, as well as any updated
23   versions of waitlists for the POEs at San Ysidro, CA, and Mexicali, CA.5
24
     you.’”),    https://www.govinfo.gov/content/pkg/DCPD-201900208/html/DCPD-
25   201900208.htm.
26   5
      Plaintiffs obtained previous versions of the San Ysidro, CA, Mexicali, CA, and El
27   Paso, TX waitlists, which they shared with Defendants to facilitate implementation
     of the preliminary injunction in this case. See Dkt. 644-1 at ¶¶ 3, 4, 7.
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 1                                   Relevant Background
 2   I.    Defendants Relied on Waitlists to Facilitate the Turnback Policy
 3         The waitlists that developed in Mexican border towns in response to
 4   Defendants’ Turnback Policy are central to Defendants’ practice of “metering”
 5   asylum seekers. Defendants relied on those waitlists to facilitate metering, a policy
 6   that denied access to the asylum process to all but a chosen number of asylum seekers
 7   each day. Al Otro Lado v. McAleenan, 423 F. Supp. 3d 848, 873 (S.D. Cal. 2019);
 8   see also Al Otro Lado v. Wolf, 952 F.3d 999, 1009 (9th Cir. 2020) (“[T]he record
 9   establishes that the government has been using [the waitlists] in determining the order
10   in which applicants for asylum are allowed to enter, submit their asylum applications,
11   and undergo credible fear interviews.”). Implicit in Defendants’ reliance on the
12   waitlists is “the idea that those who were metered would have to wait—but were not
13   precluded from—applying for asylum in the United States.” Al Otro Lado v.
14   McAleenan, 423 F. Supp. 3d at 873.
15         As part of their reliance on the waitlists, Defendants were in regular contact
16   with counterparts in Mexico, including Mexican federal and state government
17   officials and staff at nongovernmental organizations (“NGOs”) and migrant shelters,
18   who maintained the lists.       See Dkt. 657-2 at ¶¶ 6-8; Dkt. 665-3 (“
19                    ” with “                                                           ” to
20   meter asylum seekers in Piedras Negras/Eagle Pass); Dkt. 665-4 (reporting
21                                                                                     ); Dkt.
22   665-5 (
23                                                         ). Defendants would sometimes
24   tell migrants to put their names on a waitlist, Dkt. 533-15 at 966 (“
25
26             .”), and would direct their Mexican counterparts to send a specific number of
27   asylum seekers to a POE for processing. Dkt. 533-16 at 140:1-16 (“
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 1   i                                 .”); see also Dkt. 533-14 at 108:1-10 (“
 2
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 5           .”).
 6         Beginning at the outset of the pandemic in March 2020, some waitlists stopped
 7   accepting new names due to the border’s closure to asylum seekers, and the number
 8   of asylum seekers on these lists has remained frozen ever since. Ex. 1 at ¶ 12. In
 9   addition, waitlists in Piedras Negras, Ciudad Juarez, and Matamoros dissolved after
10   few or no names remained on them. Id. Asylum waitlists remain open in Reynosa,
11   Nuevo Laredo, Ciudad Acuña, and Agua Prieta, and individuals continue to enroll
12   on those lists. Id. The waitlists are currently managed by Mexican federal or
13   municipal government officials or by staff of migrant shelters. Id. at ¶ 9. These list
14   managers have coordinated directly with Defendants to manage the process of getting
15   asylum seekers from the waitlists to POEs when Defendants have requested a specific
16   number for processing. Id. at ¶ 11. As of May 2021, nearly 18,700 people were still
17   on waitlists in eight Mexican border cities: Reynosa, Nuevo Laredo, Ciudad Acuña,
18   Agua Prieta, Nogales, San Luis Rio Colorado, Mexicali, and Tijuana. Id. at ¶ 8.
19   Individuals at the top of those lists have been waiting between 16 and 20 months to
20   access the U.S. asylum process. Id. at ¶ 12.
21   II.   Defendants Create Humanitarian Exception Processes to Facilitate Entry
22         of a Limited Numbers of Asylum Seekers
23         Since March 20, 2020, Defendants have rejected tens of thousands of asylum
24   seekers at POEs along the southern border under the pretense of protecting public
25   health due to the onset of the coronavirus pandemic. Ex. 3 at 1-2, 5. Under pressure
26   from the Trump administration, the CDC disregarded their own senior experts’
27   objections and issued an order based on an arcane provision of Title 42 that DHS has
28   since used to justify its ongoing expulsions of asylum seekers, including class
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 1   members, to danger in Mexico or their home countries. Ex. 4 at 1.6 This policy,
 2   which remains in force under the Biden administration, has been condemned by
 3   public health experts, legal scholars, former government officials, and members of
 4   Congress. See, e.g., Ex. 4 at 1 (citing criticism from public health experts, members
 5   of Congress, legal scholars, and former government officials). Since February 2021,
 6   the Biden administration has used Title 42 to expel over 290,000 people who entered
 7   the United States at or between POEs, leaving many migrants stranded in dangerous
 8   Mexican border towns. Ex. 5 at ¶ 2.7
 9         The CDC order includes an exception for anyone who DHS determines should
10   be allowed into the United States upon “consideration of significant law enforcement,
11   officer and public safety, humanitarian, and public health interests.” Ex. 5 at ¶ 1. In
12   May 2021, DHS, in collaboration with six NGOs (informally known as the
13   “consortium partners”), launched the consortium process—a process for screening
14   and processing a limited number of vulnerable individuals without travel documents
15   at POEs along the southern border pursuant to this exception. See Ex. 6; Ex. 5 at ¶
16   2; Ex. 7.
17         The consortium partners identify potentially eligible individuals consistent
18   with vulnerability criteria developed by DHS. Ex. 5 at ¶ 4. These criteria include
19
20   6
       The CDC order does not apply to U.S. citizens, lawful permanent residents, and
21   their spouses and children; members of the U.S. armed forces and their spouses and
22   children; people from foreign countries who arrive at POEs with valid travel
     documents; or people from foreign countries in the visa waiver program who are not
23   otherwise subject to travel restrictions and arrive at a POE. Notice of Order Under
24   Sections 362 and 365 of the Public Health Service Act Suspending Introduction of
     Certain Persons From Countries Where a Communicable Disease Exists, 85 Fed.
25   Reg. 17,060 (March 26, 2020).
26   7
       During the first three months of the Biden administration, Human Rights First
27   documented at least 492 violent attacks along the Mexican border, including rapes,
     kidnappings, and assaults. Ex. 5 at ¶ 1.
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 1                                            . Id.
 2
 3                                                                 . Id. at ¶ 5. Defendants
 4   designed and approved CBP One, and thus determined which information is collected
 5   through the app prior to processing at a POE. See Ex. 8. Once such information has
 6   been submitted, the consortium partners arrange COVID-19 testing for the
 7   individuals concerned. Ex. 5 at ¶ 6. Those who test negative are referred to a POE
 8   at a date and time designated by CBP. Id. To Plaintiffs’ knowledge, the consortium
 9   process is currently active in
10                    , but it is expected to expand to other ports of entry and eventually
11   allow for the processing of up to     people per day. Ex. 5 at ¶ 9.
12                                        Argument
13   I.    This Court Has Broad Discretion to Facilitate Notice to the Class of
14         Important Developments Related to this Litigation
15         The implementation of the humanitarian exemption process is a key
16   development that affects class members’ access to the U.S. asylum process—an issue
17   at the heart of this litigation. Under Federal Rule of Civil Procedure 23(d)(1)(B), a
18   district court may order notice to class members of any aspect of a class action “to
19   protect class members and fairly conduct the action.” The rule does not limit the
20   circumstances under which a court may grant notice and allows for notice at “any
21   step in the action.” Fed. R. Civ. P. 23(d)(1)(B)(i); see also Fed. R. Civ. P. 23,
22   Advisory Committee’s Note to 1966 Amendment (Rule 23(d)(2), now codified at
23   23(d)(1)(B), which “sets out a non-exhaustive list of possible occasions for orders
24   requiring notice to the class”); In re Gypsum Antitrust Cases, 565 F.2d 1123, 1127
25   (9th Cir. 1977) (language now found at Rule 23(d)(1)(B) “‘does not provide for a
26   specific manner of notice or the form of the notice. These are matters left to the
27   court’s discretion to be dictated by the circumstances of each case.’”) (citation
28   omitted).
                                               7
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 1          The Court’s power to direct notice to the class under Rule 23(d) has been
 2   described as a “safety valve,” one which courts “should utilize” to protect the rights
 3   of class members “whenever there is any question of the need to do so.” Wright &
 4   Miller, 7AA Fed. Prac. & Proc. Civ. § 1786 (3d ed. 2020). Such a need exists here.
 5          Normally, the plaintiff bears the burden of providing notice to the class. See
 6   Eisen v. Carlisle & Jacquelin, 417 U.S. 156, 178-79 (1974). However, under Rule
 7   23(c)(2), the “‘court shall direct’ notice, which is commonly understood to mean that
 8   the court ‘should order one of the parties to perform the necessary tasks’.” Al Otro
 9   Lado v. Wolf, 497 F. Supp. 3d 914, 932 (S.D. Cal. 2020) (quoting Oppenheimer Fund,
10   Inc. v. Sanders, 437 U.S. 340, 354 n.21 (1978)). In instances where defendants “may
11   be able to perform a necessary task with less difficulty or expense than could the
12   representative plaintiff,” a district court can “properly . . . exercise its discretion under
13   Rule 23(d) to order the defendant to perform the task in question.” Oppenheimer,
14   437 U.S. at 355-56. Therefore, the government may be required to assist in providing
15   notice to class members where the government is “unique[ly] positioned to ascertain
16   class membership.” Barahona-Gomez v. Reno, 167 F.3d 1228, 1237 (9th Cir. 1999).
17          Class members followed the government’s instructions to wait in Mexico to
18   access the U.S. asylum process, and many were able to add their names to waitlists
19   in border cities to secure their “place in line.” Now that the government has resumed
20   limited processing at the border, class members, who have long been shut out of the
21   U.S. asylum process, should be able to come forward to be inspected and processed—
22   particularly because length of time spent waiting to access protection is a primary
23   factor that DHS has identified to prioritize cases for humanitarian exceptions to Title
24   42.
25          Defendants are uniquely situated to facilitate the identification of class
26   members. In its Order granting Plaintiffs’ Motion for Clarification, the Court found
27   it “appropriate for Defendants to make reasonable efforts to aid in identifying
28   potential class members at all stages of removal proceedings.” Al Otro Lado, 497 F.
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 1   Supp. 3d at 933. Despite Plaintiffs’ continued diligent efforts to obtain the waitlists,
 2   they have been able to obtain only three of them. See Dkt. 644-1 at ¶¶ 4, 5. In an
 3   administratively complex case such as this one, there is “no reason” for information
 4   relevant to identifying class members “to be withheld.” Id. Even when information
 5   is “imperfect,” this Court has ordered Defendants to “aid in the identification of class
 6   members” by sharing such information with Plaintiffs. Id.
 7         By refusing to obtain the waitlists—an important source of information on the
 8   length of time class members have spent trying to access the U.S. asylum process—
 9   from its counterparts in Mexico, Defendants have failed to give class members
10   meaningful access to the humanitarian exemption process, unnecessarily furthering
11   the ongoing harm caused by the Turnback Policy. Thus, Plaintiffs request that this
12   Court once again exercise its broad discretion under Rule 23(d)(1)(B) to facilitate
13   notice to class members in this litigation. Specifically, Plaintiffs ask the Court to
14   order Defendants to make all reasonable efforts to obtain the waitlists from their
15   Mexican contacts including, at a minimum requesting, those lists, and produce all
16   waitlists they receive to Plaintiffs. This would protect the rights of class members
17   by ensuring that they are aware of and can fairly access the humanitarian exemption
18   process, or any similar process that would allow class members access to the U.S.
19   asylum process.
20   II.   Defendants’ Failure to Incorporate the Class into the Humanitarian
21         Exception Processes Jeopardizes the Rights of Class Members.
22         Class members have expressed
23                                                                                 . See Ex.
24   2 at ¶ 7. Since at least 2016, instead of inspecting and processing asylum seekers
25   upon arrival at POEs, Defendants implemented a system by which tens of thousands
26   of asylum seekers were turned back and told to return to the POE “later.” Dkt. 535-
27   4, 171:7-13. While asylum seekers were left stranded and resourceless on the U.S.-
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 1   Mexico border, Defendants simply told them to get in line and “wait [their] turn.”8
 2   Dkt. 390-103 at ¶¶ 5-8. The class did exactly that; it is Defendants who are now
 3   failing to live up to their end of the bargain. Defendants now appear willing to begin
 4   processing asylum seekers with more regularity under the humanitarian exception
 5   processes, but they are conveniently ignoring their implied agreement with thousands
 6   of class members who are still waiting in line as instructed.
 7         Under the consortium process, the consortium partners effectively serve as
 8   gatekeepers who decide which asylum seekers should be included in this new
 9   process. Ex. 5 at ¶ 8. In practice, the consortium process privileges individuals with
10   connections to the consortium partners or their local partners, as well as individuals
11   who are represented by counsel. Id. However, due to the lack of transparent, publicly
12   available messaging, the vast majority of asylum seekers waiting in Mexico or
13   elsewhere, including most class members, are completely unaware of the consortium
14   process. Id. at ¶ 9. To date, neither Defendants nor the consortium partners have
15   advised the thousands of individuals turned back at POEs of their potential eligibility
16   for the consortium process or told them how to register. Id. Although limited
17   information about the consortium process has begun to appear in the English-
18   language U.S. press, it is unclear whether that information is circulating in Mexico
19   or other countries where AOL class members currently reside.
20         The situation in                 , illustrates the importance of obtaining the
21   waitlists and providing notice of the consortium process to AOL class members.
22
23        . Ex. 2 at ¶ 4.
24
25
26
     8
27    Even then-Attorney General Jeff Sessions agreed, publicly advising asylum seekers
     “Apply to enter lawfully. Wait your turn.” Ex. 9.
28
                                                10
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 1                                                                               . Id. at ¶¶ 5-
 2   6. To this end, t
 3
 4
 5                                                                                            .
 6   Id. at ¶¶ 1, 4, 10; Ex. 10 at 8.
 7          Although Defendants may claim that the consortium process will offer many
 8   class members safe haven, they have made no effort to inform class members of even
 9   the existence of this process.        Defendants’ lack of transparency belies the
10   representations they made to the class and further jeopardizes the health and safety
11   of class members. As Plaintiffs advised this Court in their Motion for Summary
12   Judgment, the Turnback Policy is responsible for the deaths of numerous asylum
13   seekers stranded at the border. See Dkt. 531-113 at 161:25-162:9 (discussing
14   murders of and assaults on unaccompanied minors who were turned back). Those
15   who have survived live in destitution and squalor and continue to face an imminent
16   risk of kidnapping, rape, and extortion. Dkt. 104-1, Ex. C at 16.
17          To avoid further harm to class members, this Court should facilitate notice to
18   the class by ordering Defendants to make all reasonable efforts to collect and produce
19   all remaining waitlists of individuals turned back at POEs. Though the egregious
20   harm caused by the Turnback Policy can never be undone, the opportunity for fair
21   and orderly processing remains.
22   III.   Defendants’ Purported “Lack of Control” Is Irrelevant
23          Defendants’ response to this motion is likely to be a red herring. Federal Rule
24   of Civil Procedure 34(a) states that requests for production may only seek
25   information that is within “the possession, custody, or control of the party upon
26   whom the request is served.” Defendants will likely note that the Ninth Circuit
27   defines “control” as “the legal right to obtain documents upon demand.” United
28   States v. Int’l Union of Petroleum & Indus. Workers, 870 F.2d 1450, 1452 (9th Cir.
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 1   1989); see also In re Citric Acid Litig., 191 F.3d 1090, 1107 (9th Cir. 1999). And, as
 2   they have done on several occasions, Defendants will likely claim that they do not
 3   control the waitlists kept in Mexico. See Dkt. 657 at 15; Dkt. 657-2 at ¶ 5.
 4         That is irrelevant. Plaintiffs are not asking this Court to compel the production
 5   of documents in response to a request for production made under Federal Rule of
 6   Civil Procedure 34. Instead, they are asking for the Court to facilitate notice to the
 7   class under Federal Rule of Civil Procedure 23(d), which contains no such limitation
 8   regarding “possession, custody, or control” of information. See Fed. R. Civ. P. 23(d).
 9         And, even if the “control” test did apply, “[d]ocuments may be within the
10   ‘custody’ or ‘control’ of a party even though they are in the possession of nonparties.”
11   City of Seattle v. Pro. Basketball Club, LLC, 2008 WL 539809, at *1 (W.D. Wash.
12   2008). The test for determining control over information is highly fact-specific. See
13   Wright & Miller, 8B Fed. Prac. & Proc. Civ. § 2210 (3d ed. 2021) (“Rather than
14   adopting an overarching rule for such situations, the courts have tended to focus on
15   the facts shown in a particular case.”) A legal right to obtain a document upon
16   demand “can also be established by the existence of a principal-agent relationship.”
17   City of Seattle, 2008 WL 539809, at *1.
18         Agency is determined by the substance of the agreement between two entities,
19   not how those entities choose to characterize their agreement. See Restatement
20   (Third) of Agency § 1.02 (2006). Instead, an agent-principal relationship exists
21   wherever “one person (a ‘principal’) manifests assent to another person (an ‘agent’)
22   that the agent shall act on the principal’s behalf and subject to the principal’s control,
23   and the agent manifests assent or otherwise consents so to act.” Id. at § 1.01; see also
24   Mavrix Photographs, LLC v. LiveJournal, Inc., 873 F.3d 1045, 1054 (9th Cir. 2017)
25   (“For an agency relationship to exist, an agent must have authority to act on behalf
26   of the principal and ‘[t]he person represented [must have] a right to control the actions
27   of the agent.’”) (quoting Restatement (Third) of Agency § 1.01 cmt. C (2006)).
28         “An agency relationship may be created through actual or apparent authority.”
                                            12
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 1   Mavrix Photographs, 873 F.3d at 1054.           Actual authority arises through “the
 2   principal’s assent that the agent take action on the principal’s behalf.” Restatement
 3   (Third) of Agency § 3.01 (2006). Importantly, assent may be manifested “through
 4   written or spoken words or other conduct.” Restatement (Third) of Agency § 1.03
 5   (2006).
 6         On the other hand, apparent authority arises by “a person’s manifestation that
 7   another has authority to act with legal consequences for the person who makes the
 8   manifestation, when a third party reasonably believes the actor to be authorized and
 9   the belief is traceable to the manifestation.” Restatement (Third) of Agency § 3.03
10   (2006). “The principal’s manifestations giving rise to apparent authority may consist
11   of direct statements to the third person, directions to the agent to tell something to
12   the third person, or the granting of permission to the agent to perform acts . . . under
13   circumstances which create in him a reputation of authority.” Hawaiian Paradise
14   Pork Corp. v. Friendly Broad. Co., 414 F.2d 750, 756 (9th Cir. 1969).9
15         In this case, the persons that kept the waitlists in Mexican border towns were
16   doing so as the agents of CBP under either actual or apparent authority. As explained
17   above (and in more detail in Plaintiffs’ summary judgment submissions), starting in
18   May 2016 Defendants adopted a Turnback Policy under which CBP officers told
19   asylum seekers who were in the process of arriving in the United States to return to
20   Mexico. Supra at 4-6. When Defendants wanted to inspect and process asylum
21   seekers, they relayed to the list managers how many asylum seekers to send to a
22   particular POE. Supra at 4-6. Then, the list keepers would inform class members
23
     9
      Agents also owe certain fiduciary duties to their principals. See Restatement (Third)
24   of Agency § 1.01, cmt. E & § 8.01 (2006). However, “[t]o establish that a
25   relationship is one of agency, it is not necessary to prove its fiduciary character as an
     element.” Id. at § 1.01, cmt. E; see also 1-800 Contacts, Inc. v. Lens.com, Inc., 722
26
     F.3d 1229, 1250 (10th Cir. 2013) (“[O]ne need not show a fiduciary relationship to
27   establish an agency relationship exists; rather, fiduciary duties arise as a result of
     circumstances establishing the agency relationship.”).
28
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 1   which of them were being sent to the POE to be inspected and processed. See, e.g.,
 2   Dkt. 294-6 at ¶ 7. By directing asylum seekers to the list keepers and then utilizing
 3   the list keepers as the intermediaries who would inform asylum seekers when they
 4   would be inspected and processed, CBP made “direct statements” to asylum seekers
 5   manifesting the authority of the list keepers to act on CBP’s behalf and CBP granted
 6   the list keepers “permission . . . to perform acts . . . under circumstances which
 7   create[d] in [them] a reputation of authority.” Hawaiian Paradise Pork, 414 F.2d at
 8   756. Moreover, by dictating the number of people that the list keepers could send to
 9   the POE each day, CBP exercised significant control over the actions of the list
10   keepers. See, e.g., Hollingsworth v. Perry, 570 U.S. 693, 713 (2013) (referring to
11   control as one of “the basic features of an agency relationship”); United States v.
12   Bonds, 608 F.3d 495, 505 (9th Cir. 2010) (explaining the “the extent of control
13   exercised by [a principal]” is an “essential ingredient” in determining an agency
14   relationship).   Indeed, the list keepers were effectively the eyes, ears, and
15   mouthpieces for CBP with respect to the class members waiting to be summoned to
16   the POEs. And CBP repeatedly manifested its assent to this relationship by utilizing
17   the list keepers on a day-to-day basis to assist in controlling the flow of asylum
18   seekers being inspected and processed at POEs.10 As a result, there was a principal-
19   agent relationship between the list keepers and Defendants, and Defendants therefore
20   10
        Defendants may claim that they did not exercise control over all aspects of the
21   work of the list keepers. That is immaterial. “The right to control, rather than its
     exercise, is sufficient to meet [the agency] standard.” In re Coupon Clearing Serv.,
22   Inc., 113 F.3d 1091, 1099 (9th Cir. 1997); Restatement (Third) of Agency § 1.01 cmt.
23   C (2006) (“[A] person may be an agent although the principal lacks the right to
     control the full range of the agent’s activities, how the agent uses time, or the agent’s
24   exercise of professional judgment.”). It would similarly be irrelevant if Defendants
25   did not compensate the list keepers. See, e.g., Restatement (Third) of Agency § 1.01
     cmt. D (2006) (“Many agents act or promise to act gratuitously.”). And it is equally
26
     meaningless that in this case the principal and its agents were on different sides of an
27   international border. See, e.g.¸ id. at § 1.01 cmt. C (2006) (“nor is [the principal’s
     right of control] eliminated by physical distance between the agent and principal.”).
28
                                                14
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 1   have control over the waitlists. See, e.g., St. Jude Med. S.C., Inc. v. Janssen-
 2   Counotte, 305 F.R.D. 630, 639 (D. Or. 2015) (holding that where “it is reasonable to
 3   infer that persons . . . were acting as agents for [the defendant],” there is “sufficient
 4   indicia of effective control” to require the production of documents); Hitachi, Ltd. v.
 5   AmTRAN Tech. Co., 2006 WL 2038248, at *2 (N.D. Cal. 2006) (relying on agency
 6   relationship to establish control over documents); Mantha v. QuoteWizard.com, LLC,
 7   2021 WL 981815, at *4 (D. Mass. 2021) (same).
 8          Accordingly, under either the Rule 23(d) “safety valve” standard or the Rule
 9   34 “control” standard, this Court has the authority to require Defendants to obtain
10   copies of the lists to facilitate notice to the previously-certified class.
11                                       CONCLUSION
12          For the foregoing reasons, Plaintiffs’ motion should be granted.
13
14   Dated: June 17, 2021                          MAYER BROWN LLP
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25                                                 By: /s/ Stephen M. Medlock
                                                      Stephen M. Medlock
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 1                             CERTIFICATE OF SERVICE
 2         I certify that I caused a copy of the foregoing document to be served on all
 3   counsel via the Court’s CM/ECF system.
 4   Dated: June 17, 2021                        MAYER BROWN LLP
 5
                                                 By /s/ Stephen M. Medlock
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